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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                          :

                                                  :
        v.                                                 No. 19-cr-251 (RDM)
                                                  :

ANDRA VANCE                                       :



            DEFENDANT’S RESPONSE TO GOVERNMENT’S MOTION IN LIMINE
             TO LIMIT SCOPE OF DEFENDANT’S ARGUMENTS AND EVIDENCE

        Defendant Andra Vance, by his attorney, files this response to the government’s in limine

motion seeking to limit the scope of the defendant’s arguments and evidence in three different areas.1

        1. Specific Prior Good Acts of Defendant

        The government states that it “anticipates that the defendant may try to introduce extrinsic

evidence of specific instances when he did not commit a crime or bad act, or evidence of a ‘good

act’ in an effort to paint himself in a more positive light in front of the jury.”2 The government has

absolutely no basis for this expectation, much less for its extremely insulting statement that the

defendant intends to deliberately mislead the jury.3

        It is inarguable that evidence of prior good acts by the defendant is generally inadmissible.4

It is equally true that F.R.E. 405(b) does not allow a party to present evidence of specific instances



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             Document No. 15.
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             Motion, p. 1.
        3
          There has been no communication of any kind between the parties on this subject
matter. (The claim that the defendant intends to mislead the jury appears on page two of the
government’s motion.)
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          Otherwise inadmissible evidence can become admissible when the adverse party opens
a door to it.

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of conduct to prove a character trait, unless that trait “is an essential element of a charge, claim, or

defense.” Defendant concedes that character is not an essential element of the charges levied against

him. Therefore, the rule would bar proof of the defendant’s character through specific acts.

        It is unclear from the government’s motion how broad its request is. If it is contending that

the defendant should be barred from presenting personal background information to the jury if he

elects to testify, its request should be denied. The law plainly allows such testimony to be admitted.

        The Advisory Committee Note to F.R.E. 401 says that the “fact to which evidence is directed

need not be in dispute. . . . Evidence which is essentially background in nature can scarcely be said

to involve disputed matter, yet it is universally offered and admitted as an aid to understanding.” It

is clear that “it is well within a trial court’s discretion to allow testimony concerning a witness’

background, including military service, as part of an introduction of the witness to the jury.” United

States v. Lucas, 395 F.Supp. 3d 241, 256 (W.D.N.Y. 2019). See also, United States v. Blackwell,

853 F.2d 86, 88 (2d Cir. 1988). “[R]easonable background information about a witness is always

admissible, precisely because it allows the jury to make better informed judgments about the

credibility of the witness and the reliability of that witness’ observations.         (Citations omitted.)”

United States v. McVeigh, 153 F.3d 1166, 1201 (10th Cir. 1998).

        The government also asks the court to “inquire as to whether the defendant intends to

introduce good character evidence other than opinions or reputation.”5           It cites no   authority in

support of its novel request – for the simple reason that no such authority exists.

        There are statutes and rules that require the defendant to make certain pretrial disclosures.

For example, Fed.R.Cr.P.-Rule 12.2 requires the defendant to provide pretrial notice of a defense

based on a mental condition; Rule 12.1 requires the defendant, in response to a written request by

the government, to provide notice of an alibi defense; and there is a statutory requirement of notice

to the government when a defendant plans to introduce classified information at his trial. See, e.g.,

United States v. North, 910 F.2d 843 (D.C. Cir. 1990); United States v. Poindexter, 725 F.Supp. 13

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            Motion, p. 5.

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(D.D.C. 1989). In the absence of such a rule or statute, it is not proper for the court to inquire about

the specifics of the defense, nor for the government to request that inquiry: “‘there is no authority

for the proposition that a court has inherent authority to compel a defendant to provide pretrial

discovery which is not specifically authorized in Rule 16.’ (Citations omitted.)” United States v.

Dailey, 155 F.R.D. 18, 20 (D.R.I. 1994). Accord, United States v. George, 786 F.Supp. 11, 15

(D.D.C. 1991). In fact, requiring the defendant to reveal any aspect of his trial strategy before trial,

except when specifically authorized by rule or statute, is a due process violation. See, e.g., United

States v. Wright, 489 F.2d 1181, 1194 (D.C.Cir. 1973).

        In essence, the first part of the government’s in limine motion asks the court to issue an order

directing the defendant to comply with the Federal Rules of Evidence, based on its apparent belief

that the defendant is unfamiliar with those rules and/or plans to willfully violate them. Neither of

those assumptions is true.     The prosecution’s request is the equivalent of the defendant’s filing a

motion asking for a pretrial ruling that the government should not lead its witnesses. The request

is superfluous and a waste of valuable resources. Accordingly, it should be denied.

        2. Evidence of Complaining Witness’s Mental Health.

            The government flatly states that the complaining witness’s6 “medical diagnosis of bipolar

disorder has no relevance to the government’s case, nor does it establish any legal defense justifying

defendant’s actions.”7 There are two principal flaws in the government’s position.

        First, it is premature for the court to conclude that a particular piece of evidence will be

irrelevant for all purposes at trial. Evidence law requires the most fact-specific of legal analyses.

Until the government presents its case, it is impossible for the court to conclude either that the fact

of the complaining witness’s mental illness is irrelevant or that the risk of unfair prejudice



        6
            The government consistently refers to the complaining witness as the “victim”. That
term is improper on the facts of this case, as it presupposes that a crime was committed. This
issue will be addressed in the defendant’s in limine motion.
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            Motion, p. 5.

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substantially outweighs the probative value.

        Second, to the extent that the government argues the witness’s mental illness could not

possibly be relevant, it is simply wrong. According to the prosecution, its case “entails establishing

that the defendant unreasonably seized the victim by willfully applying excessive force against a

non-resisting and non-assaultive person by repeatedly striking him with a dangerous weapon.8 Any

evidence of the victim’s mental disability does not help to establish any element of any charged

offense, nor would such evidence be relevant to any legitimate defense.”9

        The government’s argument is circular and incorrect as a matter of law. The use of the word

“victim” presupposes that a crime was committed. That is precisely what the government needs to

prove at trial. In other words, the government is arguing from a presumption of guilt.10 And while

the prosecution is correct that it must prove at trial that the defendant’s actions were unreasonable,

it ignores the obvious fact that the reasonableness of an officer’s actions in effecting an arrest

depends, to a large extent, on the behavior of the person being arrested. Mental illness can cause a

person to behave irrationally. An officer arresting such a person might well have a need to use more

force than would be reasonable in arresting a calm person. Mental illness – and medication taken

for that illness – can affect a witness’s ability to accurately perceive and/or recall events. Evidence

of that illness could, therefore, well be relevant and admissible. The court cannot possibly make that

determination until it hears the evidence.11      Consequently, the second part of the government’s

motion should be denied.




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             Defendant submits that the government’s evidence will not establish “repeated” strikes.
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             Motion, p. 5.
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          The same presumption of guilt underlies the government’s claim that the complainant
was “non-resisting and non-assaultive”. That is a finding of fact that only the jury can make.
        11
             In order to avoid exposing the jury to evidence that the court deems in admissible,
there is a simple practical expedient: The court can require the defense to approach the bench and
ask for a ruling that he may inquire about the mental health diagnosis.

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        3. Evidence of Complaining Witness’s Criminal Record.

        The government’s third request is that the court should preclude the defendant from

introducing evidence of all but two of the complainant’s criminal convictions. It further asks that

the court impose strict limitations on questions that the defendant may ask about those two

convictions.

                 A. If the Witness Testifies.

        The government has listed five felony convictions for the complaining witness, Darrell Craig,

but has provided scant information about them. As an initial matter, the defendant asks that the court

direct the government to identify the courts in which the convictions were obtained so that the

defendant can investigate them.

        The government’s argument reflects a lack of understanding of the law applicable to

impeachment by prior conviction.         It errs in its description of the type of convictions that are

available for impeachment and its analysis of the staleness issue. And it has not provided the court

with sufficient facts on which to base its ruling.

        The government lists only the conviction dates for the offenses and then states: “Notably,

only two of the five felony convictions occurred within the last ten years . . . .”12 In fact, there is

nothing notable about the dates of convictions because those are not the dates that matter for

purposes of determining whether a particular conviction is stale. As F.R.E. 609 clearly states, “[t]his

subdivision (b) applies if more than 10 years have passed since the witness’s conviction or release

from confinement for it, whichever is later. (Emphasis added.)” In order for the defense to make a

full response to this argument and for the court to make a ruling, the prosecution should disclose the

sentence that Craig received and the exact date that he was released from incarceration. If release

from incarceration occurred within the last ten years, then Rule 609(b) is not implicated. Neither

the defense nor the court can adequately address this issue without knowing the date when Craig was



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             Motion, p. 7.

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released from prison on the first three charges listed in the prosecution’s motion.

        Despite the fact that the felon in possession of a firearm conviction itself is less than a year

old, the government argues that it should be excluded from evidence under Rule 403 because it does

not have “any arguable baring [sic] on a witness’s credibility. Accordingly, the prejudicial impact

of introducing D.C.’s13 felony conviction is substantially outweighed by any probative value of such

evidence . . . .”14 This argument also ignores the wording of the rule.

        Rule 609(a)(1)(B) provides that a witness’s felony conviction “must be admitted, subject to

Rule 403, in a civil case or in a criminal case in which the witness is not a defendant; . . . .” In other

words, such a conviction must be admitted, unless the court determines that it should be excluded

under Rule 403. The only argument that the government offers in support of its position that Rule

403 should bar the admission of the gun conviction is that the charge does not implicate Craig’s

credibility. In other words, its position is that a witness cannot be impeached with a non-stale felony

conviction unless that conviction implicates credibility. That argument is meritless. The defendant

concedes that a felon-in-possession charge does not require proof of a dishonest act or false

statement, but that fact is irrelevant to a 609(a)(1)(A) analysis. Subparagraph (a)(2) provides that

a witness can be impeached with a misdemeanor, if that misdemeanor requires proof of dishonesty

or false statement. It has no applicability to the court’s analysis of whether a felony conviction is

admissible under (a)(1)(A). The government’s attempt to graft subparagraph (a)(2) onto (a)(1)(A)

would render the latter subparagraph superfluous.

        The prosecution does not even attempt to argue that a recent felony gun conviction fails an

independent 403 analysis. The only case it cites, Knight v. Miami-Dade County, 856 F.3d 795 (11th

Cir. 2017), lends no support to its argument. The quotation from page 816 of the opinion cited by

the government is just a generic summary of the 403 test. The court in Knight found no error in the

admission of the prior convictions, noting that “‘[t]he implicit assumption of Rule 609 is that prior

        13
             “D.C.” is a reference to the complainant, Darrell Craig.
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             Motion, p. 7.

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felony convictions have probative value.’ (Citation omitted.)” 856 F.3d at 817. As indeed they do.

                 B. If the Witness Does Not Testify.

        Even if the government decides not to call Craig to the stand, the defendant should be

allowed to introduce evidence of his prior convictions.15 The defendant expects to show at trial that

Craig was obstreperous, agitated, and resistant when the defendant first tried to talk to him and then

tried to arrest him for fare evasion and that, therefore, the force he used was reasonable. The

defendant also believes that the only reason that the government would decide not to call Craig to

the stand is that he would not be a credible witness. A ruling that the jury could not then hear about

his qualifying convictions would cripple the defense to such an extent as to constitute a due process

violation.

                                            CONCLUSION

        The court should deny the government’s in limine motion in its entirety.

                                                         Respectfully submitted,


                                                                 /s/
                                                         _______________________
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           The defendant is referrring to Craig’s non-stale convictions. As already discussed, it is
not currently clear how many of them fall into this category.

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